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                                 UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF MARYLAND

   ANNE ARUNDEL COUNTY,
   MARYLAND

                    Plaintiff,

              v.                                 CASE NO.: 1:21-cv-01323—ELH

   BP P.L.C., et al.


                    Defendants.

                         ENTRY OF APPEARANCE IN A CIVIL CASE

         TO THE CLERK OF THIS COURT AND ALL PARTIES OF RECORD:

         Enter my appearance as counsel in this case for Defendants BP p.l.c., BP America Inc.

and BP Products North America Inc. I certify that I am admitted to practice in this Court.

Dated: 06/02/21                                              / s /
                                                    John B. Isbister (Bar No. 00639)
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                                                           Counsel for Defendants BP p.l.c., BP
                                                           America Inc. and BP Products North
                                                           America Inc.

                                    CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on the 2nd day of June, a copy of the foregoing Entry of

Appearance in a Civil Case was served on all counsel of record via the court’s electronic filing

system.

                                                              /s /
                                                    John B. Isbister



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